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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO
A.E.S.E., a minor child, and Esebio Daniel
Sabillon Paz, her father,
       Plaintiff,
v.                                                         2:21-cv-00569-SMV-GBW
United States of America and Management &
Training Corporation,
       Defendants.

            DEFENDANT MANAGEMENT & TRAINING CORPORATION’S
                 ANSWER TO PLAINTIFFS’ COMPLAINT [Doc. 1]
       Defendant Management & Training Corporation (“MTC”), by and through its counsel,

Sutin, Thayer & Browne, A Professional Corporation (Christina Muscarella Gooch, and Alison K.

Goodwin), and for its Answer to Plaintiffs’ Complaint for Damages [Doc. 1] (“Complaint”), states:

                                      INTRODUCTION
       1.     In response to the allegations contained in paragraph 1 of the Complaint, Defendant

lacks sufficient knowledge or information to admit or deny these allegations and therefore denies

the same.

       2.     In response to the allegations contained in paragraph 2 of the Complaint, Defendant

lacks sufficient knowledge or information to admit or deny these allegations and therefore denies

the same.

       3.     In response to the allegations contained in paragraph 3 of the Complaint, Defendant

lacks sufficient knowledge or information to admit or deny these allegations and therefore denies

the same.




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       4.     In response to the allegations contained in paragraph 4 of the Complaint, Defendant

MTC lacks sufficient knowledge or information to admit or deny these allegations and therefore

denies the same.

       5.     In response to the allegations contained in paragraph 5 of the Complaint, Defendant

MTC lacks sufficient knowledge or information to admit or deny these allegations and therefore

denies the same.

       6.     In response to the allegations contained in paragraph 6 of the Complaint, Defendant

MTC lacks sufficient knowledge or information to admit or deny these allegations and therefore

denies the same.

       7.     In response to the allegations contained in paragraph 7 of the Complaint, Defendant

MTC lacks sufficient knowledge or information to admit or deny these allegations and therefore

denies the same.

       8.     Defendant MTC denies the allegations contained in paragraph 8 of the Complaint.

       9.     In response to the allegations contained in paragraph 9 of the Complaint, Defendant

MTC denies the allegations as to how they relate to Defendant MTC. Otherwise, Defendant MTC

lacks sufficient knowledge or information to admit or deny these allegations and therefore denies

the same.

                               JURISDICTION AND VENUE
       10.    The allegations contained in paragraph 10 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 10 of the Complaint.




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       11.    In response to the allegations contained in paragraph 11 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       12.    The allegations contained in paragraph 12 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 12 of the Complaint.

       13.    The allegations contained in paragraph 13 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 13 of the Complaint.

                                          PARTIES
       14.    In response to the allegations contained in paragraph 14 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       15.    In response to the allegations contained in paragraph 15 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       16.    In response to the allegations contained in paragraph 16 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       17.    In response to the allegations contained in paragraph 17 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.


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        18.      Defendant MTC admits the allegations contained in paragraph 18 of the Complaint

but denies the relevancy of any of its operations outside of the Otero County Processing Center

(“OCPC”).

        19.      Defendant MTC admits the allegations contained in paragraph 19 of the Complaint.

                                        ALLEGATIONS
   I.         The Federal Government’s Unlawful Family Separation Policy
        20.      In response to the allegations contained in paragraph 20 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

        21.      In response to the allegations contained in paragraph 21 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

        22.      In response to the allegations contained in paragraph 22 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

        23.      In response to the allegations contained in paragraph 23 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

        24.      In response to the allegations contained in paragraph 24 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.




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         25.      In response to the allegations contained in paragraph 25 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         26.      In response to the allegations contained in paragraph 26 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         27.      In response to the allegations contained in paragraph 27 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

   II.         A.E.S.E and Mr. Sabillon Paz come to the United States seeking asylum
         28.      In response to the allegations contained in paragraph 28 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         29.      In response to the allegations contained in paragraph 29 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         30.      In response to the allegations contained in paragraph 30 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         31.      In response to the allegations contained in paragraph 31 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.


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          32.      In response to the allegations contained in paragraph 32 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

   III.         The government confines Plaintiffs in an “icebox.”
          33.      In response to the allegations contained in paragraph 33 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

          34.      In response to the allegations contained in paragraph 34 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

          35.      In response to the allegations contained in paragraph 35 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

          36.      In response to the allegations contained in paragraph 36 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

          37.      In response to the allegations contained in paragraph 37 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

          38.      In response to the allegations contained in paragraph 38 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.


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         39.      In response to the allegations contained in paragraph 39 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         40.      In response to the allegations contained in paragraph 40 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         41.      In response to the allegations contained in paragraph 41 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

   IV.         The government separates A.E.S.E. from Mr. Sabillon Paz.
         42.      In response to the allegations contained in paragraph 42 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         43.      In response to the allegations contained in paragraph 43 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         44.      In response to the allegations contained in paragraph 44 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         45.      In response to the allegations contained in paragraph 45 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.


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   V.          The government mistreats and medically neglects Mr. Sabillon Paz while
               detaining him in federal criminal custody.
         46.      In response to the allegations contained in paragraph 46 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         47.      In response to the allegations contained in paragraph 47 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         48.      In response to the allegations contained in paragraph 48 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         49.      In response to the allegations contained in paragraph 49 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         50.      In response to the allegations contained in paragraph 50 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         51.      In response to the allegations contained in paragraph 51 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

   VI.         The government and contractors injure and neglect Mr. Sabillon Paz while
               transferring him from federal criminal custody to ICE detention.




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       52.      In response to the allegations contained in paragraph 52 of the Complaint,

Defendant MTC admits that Mr. Sabillon Paz arrived at OCPC on June 22, 2018. Defendant MTC

denies the remainder of the allegations contained in paragraph 52 of Complaint.

       53.      In response to the allegations contained in paragraph 53 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       54.      In response to the allegations contained in paragraph 54 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       55.      In response to the allegations contained in paragraph 55 of the Complaint,

Defendant MTC, which did not transport Plaintiff, lacks sufficient knowledge or information to

admit or deny these allegations and therefore denies the same.

       56.      In response to the allegations contained in paragraph 56 of the Complaint,

Defendant MTC, which did not transport Plaintiff, lacks sufficient knowledge or information to

admit or deny these allegations and therefore denies the same.

       57.      In response to the allegations contained in paragraph 57 of the Complaint,

Defendant MTC, which did not transport Plaintiff, lacks sufficient knowledge or information to

admit or deny these allegations and therefore denies the same.

       58.      In response to the allegations contained in paragraph 58 of the Complaint,

Defendant MTC, which did not transport Plaintiff, lacks sufficient knowledge or information to

admit or deny these allegations and therefore denies the same.

   VII.      Mr. Sabillon Paz is abused, neglected, and mistreated at Otero.


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       59.    In response to the allegations contained in paragraph 59 of the Complaint,

Defendant MTC admits that Mr. Sabillon Paz was at OCPC from June 22, 2018 to July 19, 2018.

Defendant MTC denies the remainder of the allegations in paragraph 59 of the Complaint.

       60.    Defendant MTC denies the allegations contained in paragraph 60 of the Complaint.

       61.    Defendant MTC denies the allegations contained in paragraph 61 of the Complaint.

       62.    Defendant MTC denies the allegations contained in paragraph 62 of the Complaint.

       63.    Defendant MTC denies the allegations contained in paragraph 63 of the Complaint.

       64.    Defendant MTC denies the allegations contained in paragraph 64 of the Complaint.

       65.    Defendant MTC denies the allegations contained in paragraph 65 of the Complaint.

       66.    To the extent the allegations contained in paragraph 66 of the Complaint relate to

Defendant MTC, Defendant MTC denies the same.

       67.    To the extent the allegations contained in paragraph 66 of the Complaint relate to

Defendant MTC, Defendant MTC denies the same.

       68.    In response to the allegations contained in paragraph 68 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       69.    Defendant MTC denies the allegations contained in paragraph 69 of the Complaint.

       70.    In response to the allegations contained in paragraph 70 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.




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         71.      In response to the allegations contained in paragraph 71 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         72.      In response to the allegations contained in paragraph 72 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         73.      In response to the allegations contained in paragraph 73 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

   VIII. Mr. Sabillon Paz is denied adequate medical care while at Otero.
         74.      In response to the allegations contained in paragraph 74 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

         75.      Defendant MTC denies the allegations contained in paragraph 75 of the Complaint.

         76.      In response to the allegations in paragraph 76 of the Complaint, Defendant MTC

admits that Mr. Sabillon Paz received medical care at OCPC. Defendant MTC denies the

remainder of the allegations in paragraph 76.

         77.      Defendant MTC denies the allegations contained in paragraph 77 of the Complaint.

         78.      Defendant MTC denies the allegations contained in paragraph 78 of the Complaint.

   IX.         A government officer sexually abuses A.E.S.E.
         79.      Regarding paragraph 79 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they



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relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       80.     Regarding paragraph 80 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       81.     Regarding paragraph 81 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       82.     Regarding paragraph 82 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       83.     Regarding paragraph 83 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       84.     Regarding paragraph 84 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.


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         85.      Regarding paragraph 85 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

         86.      Regarding paragraph 86 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

   X.          The government refuses to release A.E.S.E. to her grandparents.
         87.      Regarding paragraph 87 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

         88.      Regarding paragraph 88 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

         89.      Regarding paragraph 89 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

   XI.         An ORR contractor mistreats and neglects A.E.S.E., resulting in her
               hospitalization immediately upon release.

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       90.     Regarding paragraph 90 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       91.     Regarding paragraph 91 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       92.     Regarding paragraph 92 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       93.     Regarding paragraph 93 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       94.     Regarding paragraph 94 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       95.     Regarding paragraph 95 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they


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relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       96.     Regarding paragraph 96 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       97.     Regarding paragraph 97 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       98.     Regarding paragraph 98 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       99.     Regarding paragraph 99 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       100.    Regarding paragraph 100 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.


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       101.    Regarding paragraph 101 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       102.    Regarding paragraph 102 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

   XII.    The trauma that A.E.S.E. and Mr. Sabillon Paz suffered from Defendants’
           misconduct continues to this day.
       103.    Regarding paragraph 103 of the Complaint, Defendant MTC admits that Mr.

Sabillon Paz left OCPC on July 19, 2018. Defendant MTC is without knowledge or information

sufficient to form a belief as to the truth of the remainder of the allegations in paragraph 103 of

the Complaint and thus, Defendant MTC denies the same.

       104.    In response to the allegations contained in paragraph 104 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       105.    In response to the allegations contained in paragraph 105 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       106.    In response to the allegations contained in paragraph 106 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

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       107.    In response to the allegations contained in paragraph 107 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       108.    In response to the allegations contained in paragraph 108 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       109.    In response to the allegations contained in paragraph 109 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       110.    In response to the allegations contained in paragraph 110 of the Complaint,

Defendant MTC denies that it caused any damage to Plaintiff and lacks sufficient knowledge or

information to admit or deny the remaining allegations paragraph 110 of the Complaint and

therefore denies the same.

       111.    In response to the allegations contained in paragraph 111 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same. Defendant MTC affirmatively states that it did not harm Plaintiff.

       112.    In response to the allegations contained in paragraph 112 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       113.    In response to the allegations contained in paragraph 113 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.


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   XIII. The government’s separation of A.E.S.E. from Mr. Sabillon Paz and its
         mistreatment of them both were unlawful, violated numerous non-discretionary
         obligations on federal agents, and were done in an effort to coerce them into
         abandoning their legitimate immigration claims.
       114.   In response to the allegations contained in paragraph 114 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       115.   The allegations contained in paragraph 115 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       116.   The allegations contained in paragraph 116 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       117.   The allegations contained in paragraph 117 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       118.   In response to the allegations contained in paragraph 118 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       119.   In response to the allegations contained in paragraph 119 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       120.   In response to the allegations contained in paragraph 120 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       121.   The allegations contained in paragraph 121 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

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       122.    In response to the allegations contained in paragraph 122 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       123.    The allegations contained in paragraph 123 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       124.    The allegations contained in paragraph 124 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       125.    In response to the allegations contained in paragraph 125 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       126.    The allegations contained in paragraph 126 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       127.    Regarding paragraph 127 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       128.    Regarding paragraph 128 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       129.    The allegations contained in paragraph 129 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.


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       130.    Regarding paragraph 130 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       131.    The allegations contained in paragraph 131 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       132.    The allegations contained in paragraph 132 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       133.    The allegations contained in paragraph 133 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       134.    Regarding paragraph 134 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       135.    The allegations contained in paragraph 135 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       136.    Regarding paragraph 136 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.




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       137.    In response to the allegations contained in paragraph 137 of the Complaint,

Defendant MTC lacks sufficient knowledge or information to admit or deny these allegations and

therefore denies the same.

       138.    The allegations contained in paragraph 138 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the same.

       139.    Regarding paragraph 139 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

       140.    Regarding paragraph 140 of the Complaint, Defendant MTC is without knowledge

or information sufficient to form a belief as to the truth of the allegations set forth therein as they

relate to Defendant United States of America. To the extent a response is required, Defendant

MTC denies the same.

 COUNT I: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (against USA)
       141.    Regarding paragraphs 141-144 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

                    COUNT II: ASSAULT AND BATTERY (against USA)
       142.    Regarding paragraphs 145-148 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

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                     COUNT III: ABUSE OF PROCESS (against USA)
       143.    Regarding paragraphs 149-153 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

               COUNT IV: BREACH OF FIDUCIARY DUTY (against USA)
       144.    Regarding paragraphs 154-161 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

                          COUNT V: CONVERSION (against USA)
       145.    Regarding paragraphs 162-166 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

                         COUNT VI: NEGLIGENCE (against USA)
       146.    Regarding paragraphs 167-171 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

                  COUNT VII: MEDICAL NEGLIGENCE (against USA)
       147.    Regarding paragraphs 172-176 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth


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therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

                COUNT VIII: NEGLIGENT SUPERVISION (against USA)
       148.    Regarding paragraphs 177-183 of the Complaint, Defendant MTC is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth

therein as they relate to Defendant United States of America. To the extent a response is required,

Defendant MTC denies the same.

COUNT IX: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (against MTC)
       149.    No response is required to paragraph 184. To the extent a response is required,

Defendant MTC denies the same.

       150.    Defendant MTC denies the allegations contained in paragraph 185 of the

Complaint.

       151.    The allegations contained in paragraph 186 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 186 of the Complaint.

       152.    Defendant MTC denies the allegations contained in paragraph 187 of the

Complaint.

       153.    Defendant MTC denies the allegations contained in paragraph 188 of the

Complaint.

                   COUNT X: ASSAULT AND BATTERY (against MTC)
       154.    No response is required to paragraph 189. To the extent a response is required,

Defendant MTC denies the same.




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       155.   Defendant MTC denies the allegations contained in paragraph 190 of the

Complaint.

       156.   Defendant MTC denies the allegations contained in paragraph 191 of the

Complaint.

       157.   Defendant MTC denies the allegations contained in paragraph 192 of the

Complaint.

       158.   Defendant MTC denies the allegations contained in paragraph 193 of the

Complaint.

                        COUNT XI: NEGLIGENCE (against MTC)
       159.   No response is required to paragraph 194. To the extent a response is required,

Defendant MTC denies the same.

       160.   The allegations contained in paragraph 195 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 195 of the Complaint.

       161.   The allegations contained in paragraph 196 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 196 of the Complaint.

       162.   The allegations contained in paragraph 197 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 197 of the Complaint.

       163.   Defendant MTC denies the allegations contained in paragraph 198 of the

Complaint.


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                      COUNT XII: Medical Negligence (against MTC)
       164.   No response is required to paragraph 199. To the extent a response is required,

Defendant MTC denies the same.

       165.   The allegations contained in paragraph 200 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 200 of the Complaint.

       166.   The allegations contained in paragraph 201 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 201 of the Complaint.

       167.   The allegations contained in paragraph 202 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 202 of the Complaint.

       168.   Defendant MTC denies the allegations contained in paragraph 203 of the

Complaint.

               COUNT XIII: NEGLIGENT SUPERVISION (against MTC)
       169.   No response is required to paragraph 204. To the extent a response is required,

Defendant MTC denies the same.

       170.   Defendant MTC denies the allegations contained in paragraph 205 of the

Complaint.

       171.   The allegations contained in paragraph 206 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 206 of the Complaint.



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       172.    The allegations contained in paragraph 207 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 207 of the Complaint.

       173.    The allegations contained in paragraph 208 are legal conclusions for which no

response is required. To the extent a response is required, Defendant MTC denies the allegations

contained in paragraph 208 of the Complaint.

       174.    Defendant MTC denies the allegations contained in paragraph 209 of the

Complaint.

                                   PRAYER FOR RELIEF
       175.    Defendant MTC acknowledges Plaintiffs’ request for relief but denies Plaintiffs’

entitlement to same. Defendant MTC affirmatively states that punitive damages and attorneys’

fees are improper and disallowed as a matter of law.

                                     GENERAL DENIAL
       176.    Defendant MTC denies every allegation in the Complaint to which it did not

specifically respond and demand strict proof thereof.

                                 AFFIRMATIVE DEFENSES
                                FIRST AFFIRMATIVE DEFENSE
       The Complaint fails to state a claim upon which relief may be granted and therefore should

be dismissed with prejudice.

                               SECOND AFFIRMATIVE DEFENSE
       To the extent that Defendant MTC is found to be negligent or otherwise at fault, which is

specifically denied, then such negligence or fault must be compared to that of other Defendants,




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Plaintiffs and others not party to this suit and Plaintiffs’ damages against Defendant MTC must be

reduced according to its appropriate percentages of fault.

                               THIRD AFFIRMATIVE DEFENSE
       Plaintiffs’ claims are barred by or to the extent Plaintiffs have failed to mitigate damages.

                               FOURTH AFFIRMATIVE DEFENSE
       To the extent Plaintiffs have suffered damages, those damages were not proximately caused

by Defendant MTC.

                                FIFTH AFFIRMATIVE DEFENSE
       Plaintiffs’ claims for negligent hiring, training and supervision are barred by the New

Mexico Tort Claims Act.

                               SIXTH AFFIRMATIVE DEFENSE
       Any recovery Plaintiffs may be entitled to against Defendant MTC is limited by statute

under the New Mexico Tort Claims Act.

                             SEVENTH AFFIRMATIVE DEFENSE
       Plaintiffs’ claim for punitive damages is not permitted by the constitutions of the United

States or the State of New Mexico under the circumstances presented in the Complaint.

                               EIGHTH AFFIRMATIVE DEFENSE
       This Court lacks subject matter jurisdiction over Defendant MTC.

                               NINTH AFFIRMATIVE DEFENSE
       Plaintiffs’ claims against Defendant MTC are barred by the statute of limitations.

       WHEREFORE, having fully answered the Complaint, Defendant MTC prays that the

Complaint be dismissed with prejudice, for costs of suit and for such other and further relief as the

Court deems just and proper.




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                                                   Respectfully submitted,


                                                   SUTIN, THAYER & BROWNE
                                                   A Professional Corporation



                                                   By:
                                                          Christina Muscarella Gooch
                                                          Alison K. Goodwin
                                                   Post Office Box 1945
                                                   Albuquerque, NM 87103
                                                   Telephone: (505) 883-3433
                                                   tmg@sutinfirm.com
                                                   ask@sutinfirm.com
                                                   Attorneys for MTC


                                CERTIFICATE OF SERVICE
I CERTIFY that on August 6, 2021, the foregoing was filed electronically pursuant to the CM/ECF
procedures for the District of New Mexico, which caused counsel of record to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing.

By
         Christina Muscarella Gooch



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